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                                         U.S. Department of Justice
[Type text]
                                                        United States Attorney
The                                                     Southern District of New York

                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007


                                                       December 7, 2022
BY ECF

The Honorable Richard M. Berman
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

         Re:    United States v. Robert Hadden, S2 20 Cr. 468 (RMB)

Dear Judge Berman:

         Attached please find the parties’ joint requests to charge, voir dire, and proposed verdict
sheet.

                                                 Very truly yours,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney

                                           by:      s/
                                                 Jane Kim / Paul M. Monteleoni /
                                                 Lara Pomerantz
                                                 Assistant United States Attorneys
                                                 (212) 637-2038 / 2219 / 2343

Cc: Defense Counsel (By ECF)
